
USCA1 Opinion

	





        February 16, 1996       [NOT FOR PUBLICATION]
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT







                                 ____________________


        No. 95-1665

                                        IN RE:

                                   DAVID A. JONES,
                                       Debtor.
                                                  
                                   _______________

                                   DAVID A. JONES,
                                      Appellant,

                                          v.

                          UNIVERSITY OF PITTSBURGH, ET AL.,
                                      Appellees.
                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE

                   [Hon. Steven J. McAuliffe, U.S. District Judge]
                                              ___________________
                                 ____________________

                                        Before
                               Torruella, Chief Judge,
                                          ___________
                                   Selya and Lynch,
                                   Circuit Judges.
                                   ______________
                                 ____________________

            David A. Jones on brief pro se.
            ______________
            Geraldine  B. Karonis, Assistant  United States  Trustee, on brief
            _____________________
        for appellee James M. Lynch, United States Trustee.
            Robert E. Murphy, Jr. and Wadleigh,  Starr, Peters, Dunn &amp;  Chiesa
            _____________________     ________________________________________
        on brief for appellee Liberty Mutual Fire Insurance Company.


                                 ____________________


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                 Per  Curiam.    Pro  se  debtor David  Jones  appeals  a
                 ___________     ___  __

            district  court  order  that  affirmed  a   bankruptcy  court

            decision  that dismissed  Jones'  petition for  relief  under

            Chapter  13  of  the   Bankruptcy  Code  and  five  adversary

            proceedings  filed  in  connection with  that  petition. This

            court  has thoroughly  reviewed the  record and  the parties'

            briefs on appeal.   We  conclude that the  instant appeal  is

            frivolous.   Jones has  failed to produce  the transcripts of

            the  hearing on the U.S  Trustee's motion to  dismiss and the

            hearing  on  Jones' motion  for  reconsideration.   "We  have

            repeatedly held that  we will not review a claim  of error if

            the  appellant has  failed  to include  a  transcript of  the

            pertinent  proceedings  in  the record  on  appeal."  Valedon
                                                                  _______

            Martinez v. Hospital Presbiteriano,  806 F.2d 1128, 1135 (1st
            ________    ______________________

            Cir.  1986).   Absent  these transcripts,  we  are unable  to

            review  Jones'  claim  that  the bankruptcy  court  erred  in

            finding  that  he  was  not a  person  with  "regular" income

            entitled  to relief  under Chapter  13.   To the  extent that

            review is possibleon therecord before us,we discern noerror.1
                                                                        1

                                
            ____________________

               1We  note that Jones  offers conflicting  explanations for
               1
            the  absence of the 7/6/94  transcript.  His  brief says that
            the court reporter informed his  wife that no such transcript
            exists because court was not held on that day.  A more recent
            filing  indicates  that  the  transcript was  made,  but  has
            "disappeared."   Jones offers no explanation  for the absence
            of the  10/5/94 transcript. "The responsibility  for voids in
            the appellate record must  reside with the party  whose claim
            of  error depends  for its  support upon  any portion  of the
            record  of the proceedings  below which was  omitted from the
            designation  of the record on  appeal."  In  re Abijoe Realty
                                                     ____________________

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                 It further appears that the funds that were held  by the

            New  Jersey Sheriff  were disbursed  long ago.   Accordingly,

            Jones' claim that  the bankruptcy court erred  by refusing to

            order a  turn over of these  funds is moot. See  In re Public
                                                        ___  ____________

            Service Company of  New Hampshire, 963 F.2d  469, 471-76 (1st
            _________________________________

            Cir.),  cert. denied, 506 U.S. 908  (1992).  Jones' remaining
                    ____  ______

            claims  on appeal are meritless for the reasons stated in the

            district court's opinion.

                 The   judgment  of  the   district  court  is  summarily

            affirmed.   See Local Rule  27.1.  To  the extent that Jones'
            ________    ___

            "Emergency  Notification of a Federal Bureau of Investigation

            Seizure of  Incriminating Documents"  seeks relief from  this

            court, it is denied.
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            ____________________

            Corp., 943 F.2d 121, 123  &amp; n. 1 (1st Cir. 1991).   This rule
            _____
            applies equally  to appellants who  designate transcripts but
            fail to ensure that said transcripts are produced. 

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